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                                                                 The Honorable S. Kate Vaughan
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9 TSR LLC,                                          Case No. 2:21-cv-01705-SKV
10                      Plaintiff,
                                                     MOTION FOR STIPULATED
11         v.                                        PROTECTIVE ORDER
12 WIZARDS OF THE COAST LLC,                         NOTE ON MOTION CALENDAR:
                                                     June 14, 2022
13                      Defendant.

14
     WIZARDS OF THE COAST LLC,
15
                        Counterclaim Plaintiff,
16
           v.
17
   TSR LLC; JUSTIN LANASA; and
18 DUNGEON HOBBY SHOP MUSEUM LLC,

19                      Counterclaim Defendants.

20                                   I.   RELIEF SOUGHT
21         Pursuant to Rule 26(c), Plaintiff and Counterclaim Defendant TSR LLC, Defendant
22 and Counterclaim Plaintiff Wizards of the Coast LLC, and Counterclaim Defendants Justin

23 LaNasa and Dungeon Hobby Shop Museum LLC (collectively, the “parties” or in the singular

24 each a “party”) jointly move the Court for an order adopting and entering a proposed Stipulated

25 Protective Order, filed herewith as Exhibit A.


     MOTION FOR STIPULATED PROTECTIVE ORDER                                          PAGE - 1
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 1         The Proposed Stipulated Protective Order, agreed to by the parties, is entered to
 2 facilitate the production of discovery materials between the parties and is not an admission by

 3 any of the parties that material produced pursuant to the proposed Stipulated Protective Order

 4 is in fact, confidential, proprietary or private information that warrants confidential treatment

 5 under Rule 26(c)( 1) of the Federal Rules of Civil Procedure (“Rule 26(c)(1)”). The parties,

 6 however, agree that entry of the proposed Stipulated Protective Order will protect the

 7 respective interests of the parties in producing material they believe, in good faith, warrants

 8 protection pursuant to Rule 26(c)(1) and provides a framework for the parties to make any

 9 necessary challenges to the confidentiality designation of the producing party.

10                                   II.   CERTIFICATION
11         On April 18, 2022, the undersigned parties held a telephonic, remote good faith meet
12 and confer conference, and subsequently on May 17, 2022, submitted their Joint Status Report

13 and Proposed Discovery Plan (Dkt. 24) pursuant to Federal Rule of Civil Procedure 26(f),

14 Local Civil Rule 26(f), and the Court’s Order Regarding Initial Disclosures, Joint Status

15 Report, Case Procedures, and Early Settlement (Dkt. 20).

16         In preparing the proposed Stipulated Protective Order, the parties followed the
17 directives set forth for such an order on the website for the Western District of Washington.

18 Specifically, each of the parties made their best effort to list specific categories of documents

19 that they may, respectively, contend are entitled to protection pursuant to Rule 26(c)(1).

20         Accordingly, in Section 2 of the proposed Stipulated Protective Order, the parties listed
21 the categories of documents that they may contend are protected by Rule 26(c)(1) and/or are

22 entitled to special protection: confidential business and financial information, including but

23 not limited to proprietary business information and sensitive customer or client information.

24         The proposed Stipulated Protective Order is limited to information that one or more of
25 the respective parties may contend is entitled to confidential treatment under applicable legal


     MOTION FOR STIPULATED PROTECTIVE ORDER                                            PAGE - 2
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 1 principles and does not purport to confer blanket protection on all disclosures or responses to

 2 discovery. Nor does the proposed Stipulated Protective Order presumptively entitle the Parties

 3 to file confidential information under seal. Pursuant to Local Rule 26(c)(2), a redline

 4 comparing the proposed Stipulated Protective Order with the Model Stipulated Protective

 5 Order for the Western District of Washington is filed herewith as Exhibit B.

 6                                    III.    STIPULATION
 7          During the course of this litigation, the parties will produce documents or stipulate to
 8 the release of documents, including confidential business and financial information, including

 9 but not limited to proprietary business information and sensitive customer or client

10 information. Finally, the parties’ production of documents and information will include

11 personal contact information of third parties.

12          The above-identified material is discoverable under Rule 26(a) of the Federal Rules of
13 Civil Procedure, subject to possible redactions. The parties want to ensure that the information

14 is not disclosed outside the confines of litigation between them. To that end, the parties jointly

15 submit the proposed Stipulated Protective Order, filed herewith as Exhibit A, to protect

16 information designated as “confidential” by any party, and provide a mechanism for resolving

17 disputes over whether information should be covered by the proposed Stipulated Protective

18 Order. The parties believe that the proposed Stipulated Protective Order is the appropriate

19 vehicle for ensuring that confidential information is accessible to all parties without exposing

20 the provider to unnecessary disclosure of confidential information.

21                                    IV.     CONCLUSION
22          For the foregoing reasons, the parties respectfully request that the Court grant their
23 joint Motion for Stipulated Protective Order pursuant to Rule 26(c) of the Federal Rules of

24 Civil Procedure. The parties jointly ask that this Court enter the Stipulated Protective Order

25 in the form attached as Exhibit A.


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 1         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2
     DATED: June 14, 2022                    s/ Dayna J. Christian
 3                                           Dayna J. Christian, WSB #32459
                                             Immix Law Group PC
 4                                           400 Winslow Way E., Suite 210
                                             Bainbridge Island, WA 98110
 5                                           Phone: (503) 802-5533
                                             Fax: (503) 802-5351
 6
                                             Email: dayna.christian@immixlaw.com
 7                                           Attorneys for Plaintiff and Counterclaim
                                             Defendants
 8

 9
     DATED: June 14, 2022                    s/ Russell D. Nugent
10                                           Russell D. Nugent, pro hac vice
                                             The Humphries Law Firm P.C.
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14
                                             Attorneys for Plaintiff and Counterclaim
15                                           Defendants

16
     DATED: June 14, 2022                    s/ Lauren B. Rainwater
17                                           Stuart R. Dunwoody, WSBA #13948
                                             Lauren B. Rainwater, WSBA #43625
18
                                             MaryAnn T. Almeida, WSBA #49086
19                                           Eric A. Franz, WSBA #52755
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25                                           Attorneys for Defendant and Counterclaim
                                             Plaintiff

     MOTION FOR STIPULATED PROTECTIVE ORDER                                PAGE - 4
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                          EXHIBIT A
          PROPOSED STIPULATED PROTECTIVE ORDER
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                                                                  The Honorable S. Kate Vaughan
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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9 TSR LLC,                                              Case No. 2:21-cv-01705-SKV

10                           Plaintiff,
                                                         STIPULATED PROTECTIVE
11         v.                                            ORDER

12 WIZARDS OF THE COAST LLC,
                             Defendant.
13

14 WIZARDS OF THE COAST LLC,

15                       Counterclaim Plaintiff,
16         v.
17 TSR LLC; JUSTIN LANASA; and
   DUNGEON HOBBY SHOP MUSEUM LLC,
18
                    Counterclaim
19 Defendants.

20

21                                        I.   STIPULATION
22 1.      PURPOSES AND LIMITATIONS
23         Discovery in this action is likely to involve production of confidential, proprietary, or
24 private information for which special protection may be warranted. Accordingly, Plaintiff and

25 Counterclaim Defendant TSR LLC, Defendant and Counterclaim Plaintiff Wizards of the


     STIPULATED PROTECTIVE ORDER                                                       PAGE - 1
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 1 Coast LLC, and Counterclaim Defendants Justin LaNasa and Dungeon Hobby Shop Museum

 2 LLC (collectively, the “parties” or in the singular each a “party”) hereby stipulate to and

 3 petition the court to enter the following Stipulated Protective Order. The parties acknowledge

 4 that this agreement is consistent with LCR 26(c). It does not confer blanket protection on all

 5 disclosures or responses to discovery, the protection it affords from public disclosure and use

 6 extends only to the limited information or items that are entitled to confidential treatment under

 7 the applicable legal principles, and it does not presumptively entitle parties to file confidential

 8 information under seal.

 9 2.      “CONFIDENTIAL” MATERIAL
10         “Confidential” material shall include the following documents and tangible things
11 produced or otherwise exchanged: Confidential business and financial information, including

12 but not limited to proprietary business information and sensitive customer or client

13 information.

14 3.       SCOPE
15         The protections conferred by this agreement cover not only confidential material (as
16 defined above), but also (1) any information copied or extracted from confidential material;

17 (2) all copies, excerpts, summaries, or compilations of confidential material; and (3) any

18 testimony, conversations, or presentations by parties or their counsel that might reveal

19 confidential material.

20         However, the protections conferred by this agreement do not cover information that is
21 in the public domain or becomes part of the public domain through trial or otherwise.

22 4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
23         4.1     Basic Principles. A receiving party may use confidential material that is
24 disclosed or produced by another party or by a non-party in connection with this case only for

25 prosecuting, defending, or attempting to settle this litigation. Confidential material may be


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 1 disclosed only to the categories of persons and under the conditions described in this

 2 agreement. Confidential material must be stored and maintained by a receiving party at a

 3 location and in a secure manner that ensures that access is limited to the persons authorized

 4 under this agreement. It is expressly intended and agreed that Confidential material will not be

 5 made public via social media, Internet publication, or otherwise.

 6          4.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
 7 ordered by the court or permitted in writing by the designating party, a receiving party may

 8 disclose any confidential material only to:

 9                 (a)    the receiving party’s counsel of record in this action, as well as
10 employees of counsel to whom it is reasonably necessary to disclose the information for this

11 litigation;

12                 (b)    the officers, directors, and employees (including in house counsel) of the
13 receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

14 agree that a particular document or material produced is for Attorney’s Eyes Only and is so

15 designated;

16                 (c)    experts and consultants to whom disclosure is reasonably necessary for
17 this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”

18 (Exhibit A);

19                 (d)    the court, court personnel, and court reporters and their staff, including
20 any court reporter or videographer reporting a deposition;

21                 (e)    copy or imaging services, database services, and trial support firms
22 retained by counsel to assist in the duplication, production, or storage of confidential material,

23 provided that counsel for the party retaining the service instructs the service not to disclose

24 any confidential material to third parties and to immediately return all originals and copies of

25 any confidential material;


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 1                  (f)    during their depositions, witnesses in the action to whom disclosure is
 2 reasonably necessary and who have signed the “Acknowledgment and Agreement to Be

 3 Bound” (Exhibit A), unless otherwise agreed by the designating party or ordered by the court.

 4 Pages of transcribed deposition testimony or exhibits to depositions that reveal confidential

 5 material must be separately bound by the court reporter and may not be disclosed to anyone

 6 except as permitted under this agreement;

 7                  (g)    the author or recipient of a document containing the information or a
 8 custodian or other person who otherwise possessed or knew the information;

 9                  (h) professional jury or trial consultants, mock jurors, and professional vendors
10 to whom disclosure is reasonably necessary for this litigation and who have signed the

11 “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

12                  (i)    other persons only by written consent of the producing party or upon
13 order of the court, and on such conditions as may be agreed or ordered.

14          4.3     Filing Confidential Material. Before filing confidential material or discussing or
15 referencing such material in court filings, the filing party shall confer with the designating

16 party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating

17 party will remove the confidential designation, whether the document can be redacted, or

18 whether a motion to seal or stipulation and proposed order is warranted. During the meet and

19 confer process, the designating party must identify the basis for sealing the specific

20 confidential information at issue, and the filing party shall include this basis in its motion to

21 seal, along with any objection to sealing the information at issue. Local Civil Rule 5(g) sets

22 forth the procedures that must be followed and the standards that will be applied when a party

23 seeks permission from the court to file material under seal. A party who seeks to maintain the

24 confidentiality of its information must satisfy the requirements of Local Civil Rule 5(g)(3)(B),

25 even if it is not the party filing the motion to seal. Failure to satisfy this requirement will result


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 1 in the motion to seal being denied, in accordance with the strong presumption of public access

 2 to the Court’s files.

 3 5.       DESIGNATING PROTECTED MATERIAL
 4          5.1    Exercise of Restraint and Care in Designating Material for Protection. Each
 5 party or non-party that designates information or items for protection under this agreement

 6 must take care to limit any such designation to specific material that qualifies under the

 7 appropriate standards. The designating party must designate for protection only those

 8 materials, documents, items, or oral or written communications that qualify, so that other

 9 materials, documents, items, or communications for which protection is not warranted are not

10 swept unjustifiably within the ambit of this agreement.

11          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
12 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

13 unnecessarily encumber or delay the case development process or to impose unnecessary

14 expenses and burdens on other parties) expose the designating party to sanctions.

15          If it comes to a designating party’s attention that information or items that it designated
16 for protection do not qualify for protection, the designating party must promptly notify all other

17 parties that it is withdrawing the mistaken designation.

18          5.2    Manner and Timing of Designations. Except as otherwise provided in this
19 agreement (see, e.g., section 5.2(b) below), or as otherwise stipulated or ordered, disclosure or

20 discovery material that qualifies for protection under this agreement must be clearly so

21 designated before or when the material is disclosed or produced.

22                 (a)     Information in documentary form: (e.g., paper or electronic documents
23 and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial

24 proceedings) the designating party must affix the word “CONFIDENTIAL” to the bottom of

25 each page of the document.


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 1                 (b)     Testimony given in deposition or in other pretrial proceedings: the
 2 parties and any participating non-parties may identify on the record, during the deposition or

 3 other pretrial proceeding, all protected testimony, without prejudice to their right to so

 4 designate other testimony after reviewing the transcript. All deposition transcripts will be

 5 treated as confidential for fifteen days after receipt of the transcript. Any party or non-party

 6 may, within fifteen days after receiving the transcript of the deposition or other pretrial

 7 proceeding, designate portions of the transcript, or exhibits thereto, as confidential. If a party

 8 or non-party desires to protect confidential information at trial, the issue should be addressed

 9 during the pre-trial conference.

10                 (c)     Other tangible items: the producing party must affix in a prominent place
11 on the exterior of the container or containers in which the information or item is stored the

12 word “CONFIDENTIAL.” If only a portion or portions of the information or item warrant

13 protection, the producing party, to the extent practicable, shall identify the protected portion(s).

14          5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
15 designate qualified information or items does not, standing alone, waive the designating

16 party’s right to secure protection under this agreement for such material. Upon timely

17 correction of a designation, the receiving party must make reasonable efforts to ensure that the

18 material is treated in accordance with the provisions of this agreement.

19 6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
20          6.1    Timing of Challenges. Any party or non-party may challenge a designation of
21 confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

22 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

23 burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

24 challenge a confidentiality designation by electing not to mount a challenge promptly after the

25 original designation is disclosed.


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 1          6.2    Meet and Confer. The parties must make every attempt to resolve any dispute
 2 regarding confidential designations without court involvement. Any motion regarding

 3 confidential designations or for a protective order must include a certification, in the motion

 4 or in a declaration or affidavit, that the movant has engaged in a good faith meet and confer

 5 conference with other affected parties in an effort to resolve the dispute without court action.

 6 The certification must list the date, manner, and participants to the conference. A good faith

 7 effort to confer requires a face-to-face meeting or a telephone conference.

 8          6.3    Judicial Intervention. If the parties cannot resolve a challenge without court
 9 intervention, the designating party may file and serve a motion to retain confidentiality under

10 Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of

11 persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

12 made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on

13 other parties) may expose the challenging party to sanctions. All parties shall continue to

14 maintain the material in question as confidential until the court rules on the challenge.

15 7.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
16 OTHER LITIGATION

17          If a party is served with a subpoena or a court order issued in other litigation that
18 compels disclosure of any information or items designated in this action as

19 “CONFIDENTIAL,” that party must:

20                 (a)    promptly notify the designating party in writing and include a copy of
21 the subpoena or court order;

22                 (b)    promptly notify in writing the party who caused the subpoena or order to
23 issue in the other litigation that some or all of the material covered by the subpoena or order is

24 subject to this agreement. Such notification shall include a copy of this agreement; and

25                 (c)    cooperate with respect to all reasonable procedures sought to be pursued


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 1 by the designating party whose confidential material may be affected.

 2 8.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
 3 THIS LITIGATION

 4         The terms of this Stipulated Protective Order are applicable to information produced
 5 by a non-party in this action and designated as “CONFIDENTIAL.” Such information

 6 produced by non-parties in connection with this litigation is protected by the remedies and

 7 relief provided by this Stipulated Protective Order. Nothing in these provisions should be

 8 construed as prohibiting a non-party from seeking additional protections.

 9         In the event that a party is required, by a valid discovery request, to produce a non-
10 party’s confidential information in its possession, and the party is subject to an agreement with

11 the non-party not to produce the non-party’s confidential information, then the party shall:

12             a) promptly notify in writing the requesting party and the non-party that some or
13                 all of the information requested is subject to a confidentiality agreement with a
14                 non-party;
15             b) promptly provide the non-party with a copy of the Stipulated Protective Order
16                 in this litigation, the relevant discovery request(s), and a reasonably specific
17                 description of the information requested; and
18             c) make the information requested available for inspection by the non-party.
19         If the non-party fails to object or seek a protective order from this court within fourteen
20 days of receiving the notice and accompanying information, the receiving party may produce

21 the non-party’s confidential information responsive to the discovery request. If the non-party

22 timely seeks a protective order, the receiving party shall not produce any information in its

23 possession or control that is subject to the confidentiality agreement with the non-party before

24 a determination by the court. Absent a court order to the contrary, the non-party shall bear the

25 burden and expense of seeking protection in this court of its protected material.


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 1 9.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 2          If a receiving party learns that, by inadvertence or otherwise, it has disclosed
 3 confidential material to any person or in any circumstance not authorized under this agreement,

 4 the receiving party must immediately (a) notify in writing the designating party of the

 5 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

 6 protected material, (c) inform the person or persons to whom unauthorized disclosures were

 7 made of all the terms of this agreement, and (d) request that such person or persons execute

 8 the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

 9 10.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
10 PROTECTED MATERIAL

11          When a producing party gives notice to receiving parties that certain inadvertently
12 produced material is subject to a claim of privilege or other protection, the obligations of the

13 receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

14 provision is not intended to modify whatever procedure may be established in an e-discovery

15 order or agreement that provides for production without prior privilege review. The parties

16 agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

17 11.      NON-TERMINATION AND RETURN OF DOCUMENTS
18          Within 60 days after the termination of this action, including all appeals, each receiving
19 party must return all confidential material to the producing party, including all copies, extracts

20 and summaries thereof. Alternatively, the parties may agree upon appropriate methods of

21 destruction.

22          Notwithstanding this provision, counsel are entitled to retain one archival copy of all
23 documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

24 deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

25 work product, even if such materials contain confidential material.


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 1         The confidentiality obligations imposed by this agreement shall remain in effect until
 2 a designating party agrees otherwise in writing or a court orders otherwise.

 3                IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 4 DATED: June 14, 2022                               s/ Dayna J. Christian
                                                      Dayna J. Christian, WSB #32459
 5                                                    Immix Law Group PC
                                                      400 Winslow Way E., Suite 210
 6                                                    Bainbridge Island, WA 98110
                                                      Phone: (503) 802-5533
 7                                                    Fax: (503) 802-5351
                                                      Email: dayna.christian@immixlaw.com
 8                                                    Attorneys for Plaintiff and Counterclaim
                                                      Defendants
 9

10
     DATED: June 14, 2022                             s/ Russell D. Nugent
11                                                    Russell D. Nugent, pro hac vice
                                                      The Humphries Law Firm P.C.
12                                                    1904 Eastwood Rd, Ste 310A
                                                      Wilmington, NC 28403
13                                                    Phone: 910-899-0236
                                                      Fax: 888-290-7817
14                                                    Email: russell@kinglawonline.com
                                                      Attorneys for Plaintiff and Counterclaim
15                                                    Defendants
16

17 DATED: June 14, 2022                               s/ Lauren B. Rainwater
                                                      Stuart R. Dunwoody, WSBA #13948
18                                                    Lauren B. Rainwater, WSBA #43625
                                                      MaryAnn T. Almeida, WSBA #49086
19                                                    Eric A. Franz, WSBA #52755
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24                                                    Attorneys for Defendant and Counterclaim
                                                      Plaintiff
25


     STIPULATED PROTECTIVE ORDER                                                    PAGE - 10
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 1                                         II.   ORDER

 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3         IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of

 4 any documents in this proceeding shall not, for the purposes of this proceeding or any other

 5 federal or state proceeding, constitute a waiver by the producing party of any privilege

 6 applicable to those documents, including the attorney-client privilege, attorney work-product

 7 protection, or any other privilege or protection recognized by law.

 8

 9 DATED:

10
                                                      The Honorable S. Kate Vaughan
11                                                    United States Magistrate Judge
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     STIPULATED PROTECTIVE ORDER                                                   PAGE - 11
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 1                                             EXHIBIT A

 2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3           I, ____________________________________ [print or type full name], of

 4 ____________________________________ [print or type full address], declare under penalty

 5 of perjury that I have read in its entirety and understand the Stipulated Protective Order that

 6 was issued by the United States District Court for the Western District of Washington on

 7 ___________ [date] in the case of TSR LLC v. Wizards of the Coast LLC and Wizards of the
     Coast LLC v. TSR LLC, Justin LaNasa, and Dungeon Hobby Shop Museum (Case No. 2:21-
 8
     cv-01705-SKV). I agree to comply with and to be bound by all the terms of this Stipulated
 9
     Protective Order and I understand and acknowledge that failure to so comply could expose me
10
     to sanctions and punishment in the nature of contempt. I solemnly promise that I will not
11
     disclose in any manner any information or item that is subject to this Stipulated Protective
12
     Order to any person or entity except in strict compliance with the provisions of this Order.
13
             I further agree to submit to the jurisdiction of the United States District Court for the
14
     Western District of Washington for the purpose of enforcing the terms of this Stipulated
15
     Protective Order, even if such enforcement proceedings occur after termination of this action.
16
     Date:
17

18
     City and State where sworn and signed:
19

20 Printed name:

21

22 Signature:

23

24

25


     STIPULATED PROTECTIVE ORDER                                                         PAGE - 12
     (Case No. 2:21-CV-01705-SKV)
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                          EXHIBIT B
           REDLINED STIPULATED PROTECTIVE ORDER
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 1                                                        The Honorable S. Kate Vaughan

 2

 3

 4

 5

 6

 7
                           UNITED STATES DISTRICT COURT
 8
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT SEATTLE

10

11 TSR LLC,

12                        Plaintiff,              Case No. 2:21-cv-01705-SKV

13         v.
                                                  STIPULATED PROTECTIVE
14 WIZARDS OF THE COAST LLC,                      ORDER
                    Defendant.
15

16 WIZARDS OF THE COAST LLC,

17                     Counterclaim Plaintiff,
18         v.
19 TSR LLC; JUSTIN LANASA; and
   DUNGEON HOBBY SHOP MUSEUM LLC,
20
                    Counterclaim
21 Defendants.

22
                                       I.   STIPULATION
23

24 1.      PURPOSES AND LIMITATIONS

25


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 1
            Discovery in this action is likely to involve production of confidential, proprietary, or
 2
     private information for which special protection may be warranted. Accordingly, Plaintiff and
 3 Counterclaim Defendant TSR LLC, Defendant and Counterclaim Plaintiff Wizards of the

 4 Coast LLC, and Counterclaim Defendants Justin LaNasa and Dungeon Hobby Shop Museum

 5 LLC (collectively, the “parties” or in the singular each a “party”) the parties hereby stipulate

 6 to and petition the court to enter the following Stipulated Protective Order. The parties

 7 acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket

 8 protection on all disclosures or responses to discovery, the protection it affords from public

 9 disclosure and use extends only to the limited information or items that are entitled to

10 confidential treatment under the applicable legal principles, and it does not presumptively

11 entitle parties to file confidential information under seal.

12 2.       “CONFIDENTIAL” MATERIAL

13          “Confidential” material shall include the following documents and tangible things

14 produced or otherwise exchanged: [The parties must include a list of specific documents such
     as “company’s customer list” or “plaintiff’s medical records;” do not list broad categories of
15
     documents such as “sensitive business material”].        Confidential business and financial
16
     information, including but not limited to proprietary business information and sensitive
17
     customer or client information.
18
     3.     SCOPE
19
            The protections conferred by this agreement cover not only confidential material (as
20
     defined above), but also (1) any information copied or extracted from confidential material;
21
     (2) all copies, excerpts, summaries, or compilations of confidential material; and (3) any
22
     testimony, conversations, or presentations by parties or their counsel that might reveal
23
     confidential material.
24
            However, the protections conferred by this agreement do not cover information that is
25
     in the public domain or becomes part of the public domain through trial or otherwise.


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 1
     4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
 2
             4.1    Basic Principles. A receiving party may use confidential material that is
 3 disclosed or produced by another party or by a non-party in connection with this case only for

 4 prosecuting, defending, or attempting to settle this litigation. Confidential material may be

 5 disclosed only to the categories of persons and under the conditions described in this

 6 agreement. Confidential material must be stored and maintained by a receiving party at a

 7 location and in a secure manner that ensures that access is limited to the persons authorized

 8 under this agreement. It is expressly intended and agreed that Confidential material will not be

 9 made public via social media, Internet publication, or otherwise.

10           4.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

11 ordered by the court or permitted in writing by the designating party, a receiving party may

12 disclose any confidential material only to:

13                  (a)    the receiving party’s counsel of record in this action, as well as

14 employees of counsel to whom it is reasonably necessary to disclose the information for this
     litigation;
15
                    (b)    the officers, directors, and employees (including in house counsel) of the
16
     receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
17
     agree that a particular document or material produced is for Attorney’s Eyes Only and is so
18
     designated;
19
                    (c)    experts and consultants to whom disclosure is reasonably necessary for
20
     this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
21
     (Exhibit A);
22
                    (d)    the court, court personnel, and court reporters and their staff, including
23
     any court reporter or videographer reporting a deposition;
24
                    (e)    copy or imaging services, database services, and trial support firms
25
     retained by counsel to assist in the duplication, production, or storage of confidential material,


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 1
     provided that counsel for the party retaining the copy or imaging service instructs the service
 2
     not to disclose any confidential material to third parties and to immediately return all originals
 3 and copies of any confidential material;

 4                  (f)     during their depositions, witnesses in the action to whom disclosure is
 5 reasonably necessary and who have signed the “Acknowledgment and Agreement to Be

 6 Bound” (Exhibit A), unless otherwise agreed by the designating party or ordered by the court.

 7 Pages of transcribed deposition testimony or exhibits to depositions that reveal confidential

 8 material must be separately bound by the court reporter and may not be disclosed to anyone

 9 except as permitted under this agreement;

10                  (g)     the author or recipient of a document containing the information or a

11 custodian or other person who otherwise possessed or knew the information;

12                  (h) professional jury or trial consultants, mock jurors, and professional vendors

13 to whom disclosure is reasonably necessary for this litigation and who have signed the

14 “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
                    (ijh)   other persons only by written consent of the producing party or upon
15
     order of the court, and on such conditions as may be agreed or ordered.
16
            4.3     Filing Confidential Material. Before filing confidential material or discussing or
17
     referencing such material in court filings, the filing party shall confer with the designating
18
     party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating
19
     party will remove the confidential designation, whether the document can be redacted, or
20
     whether a motion to seal or stipulation and proposed order is warranted. During the meet and
21
     confer process, the designating party must identify the basis for sealing the specific
22
     confidential information at issue, and the filing party shall include this basis in its motion to
23
     seal, along with any objection to sealing the information at issue. Local Civil Rule 5(g) sets
24
     forth the procedures that must be followed and the standards that will be applied when a party
25
     seeks permission from the court to file material under seal. A party who seeks to maintain the


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 1
     confidentiality of its information must satisfy the requirements of Local Civil Rule 5(g)(3)(B),
 2
     even if it is not the party filing the motion to seal. Failure to satisfy this requirement will result
 3 in the motion to seal being denied, in accordance with the strong presumption of public access

 4 to the Court’s files.

 5 5.       DESIGNATING PROTECTED MATERIAL
 6          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
 7 party or non-party that designates information or items for protection under this agreement

 8 must take care to limit any such designation to specific material that qualifies under the

 9 appropriate standards. The designating party must designate for protection only those parts of

10 materials, documents, items, or oral or written communications that qualify, so that other

11 portions of the materials, documents, items, or communications for which protection is not

12 warranted are not swept unjustifiably within the ambit of this agreement.

13          Mass, indiscriminate, or routinized designations are prohibited. Designations that are

14 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
     unnecessarily encumber or delay the case development process or to impose unnecessary
15
     expenses and burdens on other parties) expose the designating party to sanctions.
16
            If it comes to a designating party’s attention that information or items that it designated
17
     for protection do not qualify for protection, the designating party must promptly notify all other
18
     parties that it is withdrawing the mistaken designation.
19
            5.2     Manner and Timing of Designations. Except as otherwise provided in this
20
     agreement (see, e.g., second paragraph of section 5.2(b) below), or as otherwise stipulated or
21
     ordered, disclosure or discovery material that qualifies for protection under this agreement
22
     must be clearly so designated before or when the material is disclosed or produced.
23
                    (a)     Information in documentary form: (e.g., paper or electronic documents
24
     and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
25
     proceedings), the designating party must affix the word “CONFIDENTIAL” to the bottom of


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 1
     each page of the document.each page that contains confidential material. If only a portion or
 2
     portions of the material on a page qualifies for protection, the producing party also must clearly
 3 identify the protected portion(s) (e.g., by making appropriate markings in the margins).

 4                  (b)     Testimony given in deposition or in other pretrial proceedings: the
 5 parties and any participating non-parties must may identify on the record, during the deposition

 6 or other pretrial proceeding, all protected testimony, without prejudice to their right to so

 7 designate other testimony after reviewing the transcript. All deposition transcripts will be

 8 treated as confidential for fifteen days after receipt of the transcript. Any party or non-party

 9 may, within fifteen days after receiving the transcript of the deposition or other pretrial

10 proceeding, designate portions of the transcript, or exhibits thereto, as confidential. If a party

11 or non-party desires to protect confidential information at trial, the issue should be addressed

12 during the pre-trial conference.

13                  (c)     Other tangible items: the producing party must affix in a prominent place

14 on the exterior of the container or containers in which the information or item is stored the
     word “CONFIDENTIAL.” If only a portion or portions of the information or item warrant
15
     protection, the producing party, to the extent practicable, shall identify the protected portion(s).
16
            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
17
     designate qualified information or items does not, standing alone, waive the designating
18
     party’s right to secure protection under this agreement for such material. Upon timely
19
     correction of a designation, the receiving party must make reasonable efforts to ensure that the
20
     material is treated in accordance with the provisions of this agreement.
21
     6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
22
            6.1     Timing of Challenges. Any party or non-party may challenge a designation of
23
     confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
24
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
25
     burdens, or a significant disruption or delay of the litigation, a party does not waive its right to


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 1
     challenge a confidentiality designation by electing not to mount a challenge promptly after the
 2
     original designation is disclosed.
 3          6.2    Meet and Confer. The parties must make every attempt to resolve any dispute
 4 regarding confidential designations without court involvement. Any motion regarding

 5 confidential designations or for a protective order must include a certification, in the motion

 6 or in a declaration or affidavit, that the movant has engaged in a good faith meet and confer

 7 conference with other affected parties in an effort to resolve the dispute without court action.

 8 The certification must list the date, manner, and participants to the conference. A good faith

 9 effort to confer requires a face-to-face meeting or a telephone conference.

10          6.3    Judicial Intervention. If the parties cannot resolve a challenge without court

11 intervention, the designating party may file and serve a motion to retain confidentiality under

12 Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden

13 of persuasion in any such motion shall be on the designating party. Frivolous challenges, and

14 those made for an improper purpose (e.g., to harass or impose unnecessary expenses and
     burdens on other parties) may expose the challenging party to sanctions. All parties shall
15
     continue to maintain the material in question as confidential until the court rules on the
16
     challenge.
17
     7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
18
     OTHER LITIGATION
19
            If a party is served with a subpoena or a court order issued in other litigation that
20
     compels disclosure of any information or items designated in this action as
21
     “CONFIDENTIAL,” that party must:
22
                   (a)     promptly notify the designating party in writing and include a copy of
23
     the subpoena or court order;
24

25


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 1
                    (b)    promptly notify in writing the party who caused the subpoena or order to
 2
     issue in the other litigation that some or all of the material covered by the subpoena or order is
 3 subject to this agreement. Such notification shall include a copy of this agreement; and

 4                  (c)    cooperate with respect to all reasonable procedures sought to be pursued
 5 by the designating party whose confidential material may be affected.

 6 8.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
 7 THIS LITIGATION

 8          The terms of this Stipulated Protective Order are applicable to information produced

 9 by a non-party in this action and designated as “CONFIDENTIAL.” Such information

10 produced by non-parties in connection with this litigation is protected by the remedies and

11 relief provided by this Stipulated Protective Order. Nothing in these provisions should be

12 construed as prohibiting a non-party from seeking additional protections.

13          In the event that a party is required, by a valid discovery request, to produce a non-

14 party’s confidential information in its possession, and the party is subject to an agreement with
     the non-party not to produce the non-party’s confidential information, then the party shall:
15
                a) promptly notify in writing the requesting party and the non-party that some or
16
                    all of the information requested is subject to a confidentiality agreement with a
17
                    non-party;
18
                b) promptly provide the non-party with a copy of the Stipulated Protective Order
19
                    in this litigation, the relevant discovery request(s), and a reasonably specific
20
                    description of the information requested; and
21
                c) make the information requested available for inspection by the non-party.
22
            If the non-party fails to object or seek a protective order from this court within fourteen
23
     days of receiving the notice and accompanying information, the receiving party may produce
24
     the non-party’s confidential information responsive to the discovery request. If the non-party
25
     timely seeks a protective order, the receiving party shall not produce any information in its


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 1
     possession or control that is subject to the confidentiality agreement with the non-party before
 2
     a determination by the court. Absent a court order to the contrary, the non-party shall bear the
 3 burden and expense of seeking protection in this court of its pProtected mMaterial.

 4

 5 98.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 6          If a receiving party learns that, by inadvertence or otherwise, it has disclosed
 7 confidential material to any person or in any circumstance not authorized under this agreement,

 8 the receiving party must immediately (a) notify in writing the designating party of the

 9 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

10 protected material, (c) inform the person or persons to whom unauthorized disclosures were

11 made of all the terms of this agreement, and (d) request that such person or persons execute

12 the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

13 109.     INADVERTENT          PRODUCTION          OF     PRIVILEGED         OR     OTHERWISE

14 PROTECTED MATERIAL
          When a producing party gives notice to receiving parties that certain inadvertently
15
   produced material is subject to a claim of privilege or other protection, the obligations of the
16
   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
17
   provision is not intended to modify whatever procedure may be established in an e-discovery
18
   order or agreement that provides for production without prior privilege review. The parties
19
   agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
20
   1110. NON- TERMINATION AND RETURN OF DOCUMENTS
21
          Within 60 days after the termination of this action, including all appeals, each receiving
22
   party must return all confidential material to the producing party, including all copies, extracts
23
   and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
24
   destruction.
25


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 1
           Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 2
     documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
 3 deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

 4 work product, even if such materials contain confidential material.

 5          The confidentiality obligations imposed by this agreement shall remain in effect until
 6 a designating party agrees otherwise in writing or a court orders otherwise.

 7

 8                IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 9 DATED:
                                                      Dayna J. Christian, WSB #32459
10                                                    Immix Law Group PC
                                                      400 Winslow Way E., Suite 210
11                                                    Bainbridge Island, WA 98110
                                                      Phone: (503) 802-5533
12                                                    Fax: (503) 802-5351
                                                      Email: dayna.christian@immixlaw.com
13
                                                      Attorneys for Plaintiff and Counterclaim
14                                                    Defendants

15

16
     DATED:
                                                      Russell D. Nugent, pro hac vice
17                                                    The Humphries Law Firm P.C.
                                                      1904 Eastwood Rd, Ste 310A
18                                                    Wilmington, NC 28403
                                                      Phone: 910-899-0236
19                                                    Fax: 888-290-7817
                                                      Email: russell@kinglawonline.com
20
                                                      Attorneys for Plaintiff and Counterclaim
21                                                    DefendantsAttorneys for Plaintiff
22

23 DATED:
                                                      Stuart R. Dunwoody, WSBA #13948
24                                                    Lauren B. Rainwater, WSBA #43625
                                                      MaryAnn T. Almeida, WSBA #49086
25                                                    Eric A. Franz, WSBA #52755
                                                      DAVIS WRIGHT TREMAINE LLP

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 1                                                      920 Fifth Avenue, Suite 3300
                                                        Seattle, WA 98104-1610
 2                                                      Telephone: (206) 622-3150
                                                        Fax: (206) 757-7700
 3                                                      Email: stuartdunwoody@dwt.com
                                                        Email: laurenrainwater@dwt.com
 4                                                      Email: maryannalmeida@dwt.com
                                                        Email: ericfranz@dwt.com
 5
                                                        Attorneys for Defendant and Counterclaim
 6                                                      Plaintiff
 7
                                             II.   ORDER
 8
            PURSUANT TO STIPULATION, IT IS SO ORDERED.
 9
            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of
10
     any documents in this proceeding shall not, for the purposes of this proceeding or any other
11
     federal or state proceeding, constitute a waiver by the producing party of any privilege
12
     applicable to those documents, including the attorney-client privilege, attorney work-product
13
     protection, or any other privilege or protection recognized by law.
14

15
     DATED:
16

17                                                      The Honorable S. Kate Vaughan[Name of
                                                        Judge]
18                                                      United States MagistrateDistrict Court
                                                        Judge
19

20

21

22

23

24

25


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 1
                                                EXHIBIT A
 2
                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3            I, ____________________________________ [print or type full name], of
 4 ____________________________________ [print or type full address], declare under penalty

 5 of perjury that I have read in its entirety and understand the Stipulated Protective Order that

 6 was issued by the United States District Court for the Western District of Washington on

 7 ___________ [date] in the case of TSR LLC v. Wizards of the Coast LLC and Wizards of the

 8 Coast LLC v. TSR LLC, Justin LaNasa, and Dungeon Hobby Shop Museum (United States

 9 District Court for the Western District of Washington Case No. 2:21-cv-01705-

10 SKV)________________ [insert formal name of the case and the number and initials

11 assigned to it by the court]. I agree to comply with and to be bound by all the terms of this

12 Stipulated Protective Order and I understand and acknowledge that failure to so comply could

13 expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I

14 will not disclose in any manner any information or item that is subject to this Stipulated
     Protective Order to any person or entity except in strict compliance with the provisions of this
15
     Order.
16
              I further agree to submit to the jurisdiction of the United States District Court for the
17
     Western District of Washington for the purpose of enforcing the terms of this Stipulated
18
     Protective Order, even if such enforcement proceedings occur after termination of this action.
19
     Date:
20

21
     City and State where sworn and signed:
22

23
     Printed name:
24

25
     Signature:


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